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8    Attorneys for Defendant LIN’S WAHA INTERNATIONAL CORP.

9                       UNITED STATES DISTRICT COURT
10                    CENTRAL DISTRICT OF CALIFORNIA
11
     OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12

13                           Plaintiff,     RESPONSE TO PLAINTIFF’S
                                            EVIDENTIARY OBJECTIONS
14
           vs.
15                                          Hearing:
     LIN’S WAHA INTERNATIONAL
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     CORP, a New York corporation; and      Date: March 5, 2021
17   DOES 1-10.                             Time: 8:30 a.m.
18
                                            Ctrm: 6C
                             Defendant.
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                          RESPONSE TO EVIDENTIARY OBJECTIONS
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1           RESPONSE TO PLAINTIFF’S EVIDENTIARY OBJECTIONS
2          Defendant Lin’s Waha International Corp’s (“Lin’s Waha”) hereby responds
3    to Plaintiff OCM Group USA, Inc.’s Evidentiary Objections.
4     #          Evidence              Objection             Lin’s Waha’s Response
5     1. LW imports                 Irrelevant          This fact was provided as
6         approximately 600         (unidentified 600 background for Lin’s Waha’s
7         genuine food products     products not at     business activities.
8         (¶4 of Lin, Xiuqing       issue).
9         Decl. – ECF #30-18).
10    2. Products at Issue          Legal conclusion Wrong. OCM admits that the
11        purchased via Fujian      (“genuine” is the Products at Issue sold by Lin’s
12        were “genuine”            disputed issue in   Waha were genuine. See
13        (¶6 of Deng Decl. - ECF this case).           Witkow Decl., Exh. 10 (OCM
14        #30-14)                                       Responses to RFP (Set Three),
15                                                      at RFP No. 40 (“It appears that
16                                                      LW purchased/sold genuine
17                                                      products during the time when
18                                                      OCM has the exclusivity. OCM
19                                                      does not contend that
20                                                      consumers were misled as to the
21                                                      products being counterfeit”);
22                                                      Deng Decl., ⁋ 6; Lin Decl., ⁋⁋ 4,
23                                                      6.
24    3. Declarant’s statement of Legal conclusion Wrong. OCM admits that the
25        Products at Issue were    (“genuine” is the Products at Issue sold by Lin’s
26        “genuine (¶17 of Lin      disputed issue in   Waha were genuine. See
27        Decl. - ECF #30-18)       this case).         Witkow Decl., Exh. 10 (OCM
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                             RESPONSE TO EVIDENTIARY OBJECTIONS
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1                                                     Responses to RFP (Set Three),
2                                                     at RFP No. 40 (“It appears that
3                                                     LW purchased/sold genuine
4                                                     products during the time when
5                                                     OCM has the exclusivity. OCM
6                                                     does not contend that
7                                                     consumers were misled as to the
8                                                     products being counterfeit”);
9                                                     Deng Decl., ⁋ 6; Lin Decl., ⁋⁋ 4,
10                                                    6.
11    4. Products at Issue were      Irrelevant       Unclear as to basis for
12       sold (majority of its       (OCM’s U.S.      objection. Lin’s Waha does not
13       sales) outside the          exclusivity is   “admit” that OCM’s exclusivity
14       State of California         admitted to be   is undisputed. As reflected in
15       (¶14 of Lin Decl. - ECF     undisputed).     sales information produced by
16       #30-18).                                     Lin’s Waha, during the 15-
17                                                    month time period that Lin’s
18                                                    Waha sold the Products at Issue
19                                                    in the United States, the
20                                                    majority of its sales of the
21                                                    Products at Issue were outside
22                                                    the State of California. Lin
23                                                    Decl., ¶ 14 and Exh. 5. Lin’s
24                                                    Waha sold the Products at Issue
25                                                    to only one customer in
26                                                    California (in Cupertino,
27                                                    California, which is in Northern
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                                               3
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1                                                  California, unlike OCM’s
2                                                  customers in Southern
3                                                  California). Id.
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6    Dated: February 18, 2021              Respectfully submitted,

7                                          witkow | baskin
8
                                           By: /s/ Brandon J. Witkow
9                                          Brandon J. Witkow
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                                           Attorneys for Defendant
11                                         LIN’S WAHA INTERNATIONAL
12                                         CORP.
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                          RESPONSE TO EVIDENTIARY OBJECTIONS
